Glenn E. Magee, Petitioner, v. Commissioner of Internal Revenue, Respondent.  Phyllis M. Magee, Petitioner, v. Commissioner of Internal Revenue, RespondentMagee v. CommissionerDocket Nos. 23221, 23222United States Tax Court17 T.C. 1583; 1952 U.S. Tax Ct. LEXIS 242; March 21, 1952, Promulgated *242 Decisions will be entered under Rule 50.  1. Held, breeding turkeys sold in 1945 were not property held primarily for sale to customers in the ordinary course of trade or business.2. Held, section 324 of the Revenue Act of 1951 does not exclude breeding turkeys sold in 1945 from "property used in the trade or business" as defined by section 117, I. R. C.Oliver M. Jamison, Esq., for the petitioners.Edward H. Boyle, Esq., for the respondent.  Van Fossan, Judge.  VAN FOSSAN *1583  The respondent determined deficiencies in petitioners' income taxes as follows: *1584 DocketPetitionerNo.YearDeficiencyGlenn E. Magee232211945$ 3,322.45Phyllis M. Magee2322219453,322.45Certain issues raised in the pleadings have been made the subject of a stipulated agreement.The sole issue in these proceedings is stipulated to be whether turkeys sold in 1945 were property held by the petitioners primarily for sale to customers in the ordinary course of trade or business.FINDINGS OF FACT.The facts stipulated are so found.The petitioners are husband and wife who operated a ranch near Orange Cove, California, engaged in the production of*243  oranges, olives, and other farm crops.  All of the petitioners' income for 1945 was co-owned in equal shares under the laws of California.  The petitioners computed their income on the cash receipts and disbursements basis, and their returns were filed with the collector of internal revenue, San Francisco, California.In 1943 the petitioners entered the business of producing turkey eggs and young turkeys (poults) for commercial sale.  The principal reason for entering this business was to induce their son to stay on the ranch and take over the turkey business.  From poults hatched in the spring of 1944, the petitioners kept over 5,000 birds for use as breeding stock in 1945.  These birds were retained throughout the winter although some were culled out and sold.  Breeding and hatching operations were begun in the spring of 1945.  On February 26, 1945, the petitioners' son, although deferred, enlisted in the United States Navy.  He contracted pneumonia in April 1945 and died within a few days.  The Magees immediately decided to abandon the turkey raising business following the production of eggs and poults for the 1945 season. As commitments for delivery of eggs and poults were fulfilled*244  the petitioners began selling their stock of breeding turkeys. Between May 1, 1945, and June 1, 1945, the petitioners sold 4,804 hens and 706 toms and received therefor $ 31,861.18.  All of these birds had been used for breeding and had been held for more than 6 months.  After these sales the petitioners owned no more breeding turkeys and the Magees abandoned the turkey business and have not acquired any more turkeys.The normal practice in the turkey raising industry is to sell the entire breeding herd annually following the production of eggs and its replacement by a new one.  The Magees followed this practice and if, in 1945, they had not decided to abandon the turkey business they *1585  would have retained poults for egg production in 1946.  The reason behind this practice of annually replacing the breeding stock is that the older birds are more subject to disease and are uneconomical and less productive of eggs in the second year.  The turkeys sold in 1945 by the petitioners would have been sold had they remained in the business but if it had been the practice to retain breeding turkeys for more than one year, the petitioners would still have disposed of their breeding *245  stock. Turkeys from breeding stock do not ordinarily bring a price as high as non-breeding stock because of the damage received in the breeding and handling of the birds. As the birds grow older they become less valuable for food.The marketing season for turkeys is primarily in the fall of the year.  The price received per pound in 1944 was the same as the price received when the breeders were sold in 1945.  The price of turkeys sold by petitioners during this period was subject to Government ceiling regulations.The profit from the sale of turkeys in 1945 was reported on the petitioners' returns as gains from the sale of property used in the trade or business.  The breeding turkeys sold in 1945 were held by petitioners not primarily for sale to customers in the ordinary course of their business, but primarily for breeding purposes.OPINION.The only issue for decision in these proceedings is stipulated to be whether the turkeys sold by petitioners in 1945 were property held by the taxpayers primarily for sale to customers in the ordinary course of their trade or business as defined by section 117 (j) of the Internal Revenue Code.  1*246 *1586   It is the petitioners' position that the turkeys sold in 1945 were held for breeding, not for sale, having been retained for use as breeders instead of being sold in the fall of 1944.  In contending that petitioners' turkeys were primarily held for sale to customers in the ordinary course of trade or business, the respondent points out that as turkeys have such short lives there can be no valid distinction between breeding and non-breeding stock. It is also urged by respondent that there can be little difference between breeding and non-breeding turkeys because of the single breeding season. An additional fact demonstrating the lack of distinction between breeding and non-breeding birds is said to be found in the sale of all the turkeys at the same price.  Respondent argues that, tested as of the time of sale rather than at any previous time, the breeding turkeys were held for sale to slaughterers in the same manner as the annual sales of turkeys. So tested, respondent urges it is obvious that the birds were held primarily for sale to customers.This Court has held that the sale of animals kept for breeding purposes results in capital gain under section 117 (j). Franklin Flato, 14 T. C. 1241;*247 William Wallace Greer, Jr., 17 T.C. 965"&gt;17 T. C. 965. Animals have qualified as breeders although only a single offspring or litter was obtained before sale, if such was the customary trade practice. Albright v. United States, 173 F.2d 339"&gt;173 F. 2d 339; Isaac Emerson, 12 T.C. 875"&gt;12 T. C. 875. Where animals are sold after a single breeding season and there is no trade custom or practice to this effect, capital gain treatment has been denied.  Leonard C. Kline, 15 T.C. 998"&gt;15 T. C. 998.The turkeys here involved were withheld from sale during the fall of 1944 and retained by petitioners to produce a new crop of eggs and poults. The turkeys were maintained throughout the winter months.  Those unfit for breeding were culled out.  After the new poults were hatched, the breeders were sold, as is the usual custom.  The young turkeys ordinarily would be sold in the fall except for those birds retained for breeding purposes in the following year.  The trade practice was to sell the breeders after one season because the birds became less productive and more expensive to maintain as they grew older. The non-breeding*248  stock was sold in the same year that the birds were hatched.Respondent errs in arguing that there is no distinction between breeding and non-breeding stock because of the short life of turkeys and their single breeding year.  In terms of expenditure of time, money, and labor by the owner, the difference may be greater than is apparent.  Breeding stock is not sold during the peak fall season when the demand for Thanksgiving and Christmas turkeys is greater.  These birds must be fed during the winter. Breeding stock is damaged by fighting and breeding, and when sold, after the new poults are hatched, the demand for turkeys has ordinarily declined.  Thus, there *1587  may be a significant economic difference between breeding and non-breeding stock in the practical aspect of raising turkeys. The use of certain birds as breeders is not a temporary interlude before sale.  When the birds were withheld from sale in the fall, the production of a new generation of turkeys in the spring became their principal purpose, one necessary to the continuation of petitioners' business.  The sale of these birds after the poults are hatched is secondary to the successful production of the eggs and*249  poults. This is true despite the fact that the price received for these turkeys is identical with that of the non-breeding stock sold during primary marketing season. Under the circumstances of the wartime meat shortage and the existing governmental ceiling prices, it is not of determinative significance that the older breeding turkeys were sold at the same price as the non-breeding stock.The respondent misconceives the test in contending that the purpose for which the birds were held is determined only as of the time of sale.  McGah v. Commissioner, 193 F.2d 662"&gt;193 F. 2d 662. Tested by the purpose for which the turkeys were held during the taxable year, the crucial factor in determining the character of the property, Carl Marks &amp; Co., 12 T. C. 1196, we arrive at the conclusion that the property was not held primarily for sale to customers in the ordinary course of trade or business.The facts in this case are in some respects unique.  When their son died, the petitioners determined to abandon the business.  The breeding stock was sold after sufficient poults were obtained to fill commitments.  The birds in question here were*250  sold as any breeding stock, when their usefulness as breeders came to an end.  It is true that if the breeders were kept another year they would then have been of less value when sold but the main reason they were not kept for another year is because they had lost their value as breeders. The breeders were sold as they would have been in the normal course of petitioners' operations.  The petitioners did not, however, retain any poults to sell in the fall or for use as future breeding stock, demonstrating their intention to quit the business.  The turkeys sold by the petitioners in 1945 cannot, on the facts presented, be classified as respondent urges and his objection that the birds were primarily held for sale fails because of the fact that the birds were primarily held for breeding purposes.The recent Revenue Act of 1951 enacted legislation which is pertinent to the issue involved herein.  Section 324 of that Act provides, as follows:SEC. 324. SALES OF LIVESTOCK.Section 117 (j) (1) is hereby amended by adding at the end thereof the following new sentences: "Such term also includes livestock, regardless of age, held by the taxpayer for draft, breeding, or dairy purposes, and*251  held by him for *1588  12 months or more from the date of acquisition.  Such term does not include poultry." The first sentence added to section 117 (j) (1) by the amendment made by this section shall be applicable with respect to taxable years beginning after December 31, 1941, except that the extension of the holding period from 6 to 12 months shall be applicable only with respect to taxable years beginning after December 31, 1950.  The second sentence added to section 117 (j) (1) by the amendment made by this section shall be applicable only with respect to taxable years beginning after December 31, 1950.The new statutory amendment provides that between January 1, 1942, and December 31, 1950, the term "property used in the trade or business" shall also include livestock held for draft, breeding, or dairy purposes for 6 months or more from the date of acquisition.  After December 31, 1950, livestock must be held for 12 months or more and the term "property used in the trade or business" shall not include poultry after this latter date.It can readily be seen that the new provision does not disturb the conclusion we have reached as to the sale of turkeys in 1945.  If turkeys*252  are included within the definition of livestock, the petitioners' breeding stock must also, of necessity, be included within the statutory definition of the term "property used in the trade or business." If turkeys are excluded from the definition of livestock, they are unaffected by section 324 of the new Act until January 1, 1951.  Prior to that date poultry is neither expressly included nor excluded from section 117 (j) by the terms of the statute.  We find nothing in prior case or statutory law to exclude poultry from capital gains treatment.Numerous cases have considered the applicability of section 117 (j) to cattle and hogs. The sale of breeding cattle not held primarily for sale to customers in the ordinary course of business has been treated as a capital gain transaction in United States v. Bennett, 186 F.2d 407"&gt;186 F. 2d 407; James M. McDonald, 17 T.C. 210"&gt;17 T. C. 210; Walter S. Fox, 16 T.C. 854"&gt;16 T. C. 854; Franklin Flato, supra;Fawn Lake Ranch Co., 12 T.C. 1139"&gt;12 T. C. 1139. Hogs sold after use as breeders for one year were considered section 117 (j) property *253  in Davis v. United States, 96 F. Supp. 785"&gt;96 F. Supp. 785; Retz v. Birmingham, 98 F. Supp. 322"&gt;98 F. Supp. 322. Cattle and hogs, held for breeding purposes, have been given similar treatment upon sale in Albright v. United States, supra;Isaac Emerson, supra.We see nothing inherent in the raising of turkeys to preclude the classification accorded to cattle and hogs if the requisites of section 117 (j) are otherwise met.The respondent has, however, despite these decisions, taken the position that gains from the sale of dairy, draft, or breeding animals will be recognized within the purview of section 117 (j) only if the animals were actually used for dairy, draft, or breeding purposes for substantially their full period of usefulness.  He cites Mim. 6660 (1951), I. R. B. 15, p. 3 [1951-2 C. B. 60], which provides:*1589  * * * Gains derived from the sale of breeding animals which were used for the production of only one offspring or litter of offspring will not be subject to the capital gains treatment prescribed by section 117 (j) of the Code.  Animals*254  which are used only temporarily as breeders or producers, including ordinarily hogs, chickens, and turkeys, will not be subject to the capital gains treatment prescribed by section 117 (j) of the Code.Respondent states that the retroactive application of the amendment was made by Congress to eliminate the confusion arising from the respondent's position and the decisions contrary thereto.  Whether such is the result is not in question here.  Our conclusion that petitioners' turkeys were not held primarily for sale is based upon the facts.  The statute, as amended by the Revenue Act of 1951, does not compel the conclusion that turkeys cannot be property used in the trade or business as defined by section 117 (j).Decisions will be entered under Rule 50.  Footnotes1. SEC. 117. CAPITAL GAINS AND LOSSES.* * * *(j) Gains and Losses from Involuntary Conversion and from the Sale or Exchange of Certain Property Used in the Trade or Business.  -- (1) Definition of property used in the trade or business.  -- For the purposes of this subsection, the term "property used in the trade or business" means property used in the trade or business, of a character which is subject to the allowance for depreciation provided in section 23 (l), held for more than 6 months, and real property used in the trade or business, held for more than 6 months, which is not (A) property of a kind which would properly be includible in the inventory of the taxpayer if on hand at the close of the taxable year, or (B) property held by the taxpayer primarily for sale to customers in the ordinary course of his trade or business.  Such term also includes timber with respect to which subsection (k) (1) or (2) is applicable.(2) General rule.  -- If, during the taxable year, the recognized gains upon sales or exchanges of property used in the trade or business, plus the recognized gains from the compulsory or involuntary conversion (as a result of destruction in whole or in part, theft or seizure, or an exercise of the power of requisition or condemnation or the threat or imminence thereof) of property used in the trade or business and capital assets held for more than 6 months into other property or money, exceed the recognized losses from such sales, exchanges, and conversions, such gains and losses shall be considered as gains and losses from sales or exchanges of capital assets held for more than 6 months.  * * *↩